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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                       Plaintiff,
                                                           Case No. 1:23-cv-1599-ZMF-ABJ
v.

BINANCE HOLDINGS LIMITED, BAM
TRADING SERVICES INC., BAM
MANAGEMENT US HOLDINGS INC., AND
CHANGPENG ZHAO.

                       Defendants.


                                             ORDER

         Before the Court is Defendant Binance Holdings Limited’s (“BHL”) Motion for Leave to

File Under Seal (“Motion”), ECF No. 217. The Court has considered the Motion and holds that

it is supported by good cause.

         Pursuant to Local Civil Rule 5.1(h), it is hereby ordered that the Motion is GRANTED,

and the portions of Exhibit 6 to the February 15, 2024 Joint Status Report, as highlighted in Exhibit

2 to the Motion, shall be redacted in the public version of the Joint Status Report and accompanying

Exhibits. The unredacted version shall remain under seal.



Dated:    February 29, 2024
                                                                             Zia M.
                                                                             Faruqui
                                                   The Honorable Zia M. Faruqui
                                                   United States Magistrate Judge
